               IN THE UNITED STATES DISTRICT COURT

                   FOR THE DISTRICT OF HAWAII

RUDY AKONI GALIMA and ROXANA  )     CIVIL 16-00023 LEK-KSC
BEATRIZ GALIMA,               )
                              )
          Plaintiffs,         )
                              )
     vs.                      )
                              )
ASSOCIATION OF APARTMENT      )
OWNERS OF PALM COURT, by and )
through its Board of          )
Directors; DOE DEFENDANTS 1- )
10,                           )
                              )
          Defendants.         )
_____________________________ )


         ORDER DENYING DEFENDANT ASSOCIATION OF APARTMENT
         OWNERS OF PALM COURT’S AMENDED MOTION TO DISMISS
     SECOND AMENDED COMPLAINT [DKT 34]; AND GRANTING IN PART
            AND DENYING IN PART DEFENDANT BRYSON CHOW’S
       MOTION TO DISMISS [DKT. 34] SECOND AMENDED COMPLAINT

          Before the Court are: Defendant Association of

Apartment Owners of Palm Court’s (“AOAO”)1 Amended Motion to

Dismiss Second Amended Complaint [Dkt 34] (“AOAO Motion”), filed

on August 24, 2016;2 and Defendant Bryson Chow’s (“Chow”) Motion

to Dismiss [Dkt. 34] Second Amended Complaint (“Chow Motion”),

filed on October 31, 2016.   [Dkt. nos. 39, 56.]   Plaintiffs

Rudy Akoni Galima and Roxana Beatriz Galima (“Plaintiffs”) filed

their memorandum in opposition to the AOAO Motion (“AOAO

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       Plaintiffs have sued the AOAO by and through its Board of
Directors.
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       The AOAO’s original motion was filed on August 23, 2016.
[Dkt. no. 36.] It was terminated after the filing of the AOAO
Motion currently before this Court. [Dkt. no. 40.]
Opposition”) on October 28, 2016, and the AOAO filed its reply

(“AOAO Reply”) on November 3, 2016.   [Dkt. nos. 55, 58.]

Plaintiffs filed their memorandum in opposition to the Chow

Motion (“Chow Opposition”) on November 7, 2016, and Chow filed

his reply (“Chow Reply”) on November 21, 2016.   [Dkt. nos. 59,

63.]   The AOAO Motion and the Chow Motion (collectively

“Motions”) came on for hearing on December 5, 2016.

           On February 28, 2017, this Court granted the AOAO’s

request for leave to submit supplemental exhibits in support of

the AOAO Motion, and this Court allowed the parties to file

supplemental memoranda addressing the new exhibits and the

Hawai`i Supreme Court’s recent decision in Hungate v. Law Office

of David B. Rosen, SCAP-13-0005234, 2017 WL 747870 (Hawai`i

Feb. 27, 2017).   [Dkt. nos. 73 (letter requesting leave), 74

(entering order granting leave).]    On March 2, 2017, the AOAO

filed the new exhibits (“Supplemental Exhibits”).   [Dkt. no. 74.]

On March 15, 2017, the parties filed their respective

supplemental memoranda.   [Dkt. nos. 75 (Chow Supplement), 76

(AOAO Supplement), 77 (Plaintiffs’ Supplement).]    After careful

consideration of the Motions, supporting and opposing memoranda,

the arguments of counsel, and the relevant legal authority, the

AOAO Motion is HEREBY DENIED in its entirety, and the Chow Motion

is HEREBY GRANTED IN PART AND DENIED IN PART.    Specifically, the

Court DENIES the Chow Motion as to Count II, and GRANTS the Chow


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Motion in all other respects.

                           INTRODUCTION

           This case poses a question of first impression as to

whether an AOAO could elect to use the former Haw. Rev. Stat.

Chapter 667, Part I when it was not a holder of a mortgage with a

power of sale.   This Court predicts the state supreme court will

determine an AOAO could not.

           The background of this case relevant to the instant

Motion involves the filing of this action in the State of Hawai`i

Circuit Court of the First Circuit (“state court”).   Plaintiffs’

First Amended Complaint was filed on January 15, 2016 in the

state court, and, on January 22, 2016, Defendant removed the case

to this district court based on federal question jurisdiction.

[Notice of Removal, filed 1/22/16 (dkt. no. 1), at ¶ 3.]

           On August 19, 2016, Plaintiffs filed their Second

Amended Complaint, which alleges that Plaintiff Rudy Akoni Galima

(“Mr. Galima”) is a “member of the military service on active

duty.”   [Dkt. no. 34 at ¶ 1.]   In March 2006, when Mr. Galima was

stationed in Hawai`i, Plaintiffs purchased Unit Number 10-A in a

condominium project known was Palm Court, Increment IC in Ewa

Beach (“the Unit” and “Palm Court”).   The AOAO is the Palm Court

homeowners’ association.   [Id. at ¶¶ 8-10.]

           In March 2008, Mr. Galima was reassigned to a duty

station outside of Hawai`i, and Plaintiffs rented the Unit.


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Their tenant, however, failed to pay the rent on a consistent

basis, causing Plaintiffs to fall behind on their financial

obligations related to the Unit.           [Id. at ¶¶ 12-13.]   On

April 10, 2010, the AOAO recorded a $6,882.86 lien on the Unit

for unpaid assessments.      [Id. at ¶ 14.]       As a result of this

lien, Chow (the AOAO’s attorney) filed for nonjudicial

foreclosure.      [Id. at ¶¶ 4, 18.]

               Plaintiffs informed the AOAO and Chow (collectively

“Defendants”) that they were in the process of selling the Unit,

and Plaintiffs asked to establish a payment plan for the amounts

owed.       Plaintiffs entered into contract to sell the Unit for a

price that was below the market value (“the Short Sale”).

Plaintiffs negotiated a settlement with the holder of their first

mortgage, and they paid off their second mortgage.          [Id. at

¶¶ 15-17.]      In spite of these events, Defendants issued notice

that they would sell the Unit pursuant to Haw. Rev. Stat. § 514B-

146 and §§ 667-5 to 667-10 (“Chapter 667, Part I”), and

Defendants conducted the sale on about October 19, 2010.3            The


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       Sections 667-5, 667-5.7, 667-6, 667-7, and 667-8, which
were in effect in 2010, were repealed in 2012. 2012 Sess. Law.
Ch. Act 182, §§ 50-54. Act 182 also added a new § 667-1, setting
forth the chapter’s definitions, and made § 667-1 the only
statute in the current Part I of Chapter 667. Id. at § 3. All
references to “Chapter 667, Part I” in the instant Order refer to
the version of Part I in effect at the time of the nonjudicial
foreclosure of Plaintiffs’ Unit.

        Section 667-1 (2010) became Haw. Rev. Stat. § 667-1.5. It
                                                      (continued...)

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AOAO submitted the winning bid and executed a quitclaim deed as

both the grantor and the grantee.     The deed was recorded on

November 9, 2010.   Because of Defendants’ actions, the Short Sale

did not close.   Plaintiffs lost the Unit and remain liable for

the amount secured by their first mortgage.    [Id. at ¶¶ 18-21.]

          Plaintiffs allege that: Defendants’ use of Chapter 667,

Part I was improper because the AOAO was not a holder of a

mortgage with a power of sale; and Defendants should have used

the process set forth in Haw. Rev. Stat. §§ 667-21 through 667-42

(“Chapter 667, Part II”).   Plaintiffs assert that Chapter 667,

Part II has consumer protection provisions for homeowners and

that Defendants used Chapter 667, Part I specifically to

circumvent these consumer protections.    Had Defendants complied

with Chapter 667, Part II, Plaintiffs contend they would not have

lost the Unit.   [Id. at ¶¶ 22-27.]

          Plaintiffs also allege that Defendants fraudulently

concealed their wrongdoing “by implying, stating and/or

representing that they were authorized to conduct a nonjudicial

foreclosure or public sale under Part I.”    [Id. at ¶ 28.]



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      (...continued)
and the other foreclosure by action provisions are now within
Part IA of Chapter 667. Act 182 added a new part to Chapter 667
– designated Part VI – titled “Association Alternate Power of
Sale Foreclosure Process.” Haw. Rev. Stat. § 667-91 now states:
“The power of sale process in [part VI] is an alternative process
for associations to the foreclosure by action in part IA and the
foreclosure by power of sale in part II.”

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Plaintiffs assert that, as members of the homeowner’s

association, they were entitled to rely – and did in fact rely –

upon Defendants’ representations about the AOAO’s asserted

authority under Chapter 667, Part I.    Plaintiffs therefore argue

that they did not discover their claims against Defendants until

sometime in December 2015.    [Id. at ¶¶ 29-30.]

             The Second Amended Complaint alleges the following

claims: a wrongful foreclosure claim against Defendants

(“Count I”); a claim against Chow for violations of the Fair Debt

Collections Practices Act (“FDCPA”), 15 U.S.C. § 1692, et seq.

(“Count II”); a claim against Defendants for unfair or deceptive

acts or practices (“UDAP”) under Haw. Rev. Stat. § 480-2

(“Count III”); a fraud claim against Defendants (“Count IV”); and

a claim seeking “recovery against Defendants for mental anguish

and emotional distress” (“Count V”) [id. at ¶ 55 (emphasis

omitted)].    This Court construes Count V as alleging a claim for

the intentional infliction of emotional distress (“IIED”).    See

id. at ¶ 60 (“DEFENDANTS deliberately, intentionally and

wrongfully utilized the expedited power of sale process contained

in Part I” (bold emphasis added)).     Defendants seek dismissal of

all claims.




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                               DISCUSSION

I.   Chapter 667, Part I and Part II

            All of Plaintiffs’ claims are premised upon the theory

that Defendants’ use of Chapter 667, Part I to foreclose upon the

AOAO’s lien on the Unit was improper because they were required

to follow Chapter 667, Part II.     This Court will therefore

address this issue first.

            The Second Amended Complaint alleges that Defendants

gave notice of the public sale of the Unit pursuant to Haw. Rev.

Stat. § 514B-146 and Chapter 667, Part I.     [Second Amended

Complaint at ¶ 18.]     Haw. Rev. Stat. § 514B-22 states,4 in

pertinent part:

            Sections 514B-4, 514B-5, 514B-35, 514B-41(c),
            514B-46, 514B-72, and part VI,[5] and section
            514B-3 to the extent definitions are necessary in
            construing any of those provisions, and all
            amendments thereto, apply to all condominiums
            created in this State before July 1, 2006;
            provided that those sections:

                  (1)   Shall apply only with respect to events
                        and circumstances occurring on or after
                        July 1, 2006; and

                  (2)   Shall not invalidate existing provisions
                        of the declaration, bylaws, condominium
                        map, or other constituent documents of
                        those condominiums if to do so would
                        invalidate the reserved rights of a
                        developer or be an unreasonable


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       The current version of § 514B-22 was also in effect at the
time of the events at issue in this case.
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         Section 514B-146 is within part VI of Chapter 514B.

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                    impairment of contract.

According to the Second Amended Complaint, the Palm Court

homeowners’ association was created in or around 1990.   [Second

Amended Complaint at ¶ 9.]   There is no dispute that the events

at issue in this case occurred after July 1, 2006.   Further,

based on the allegations in the Second Amended Complaint, there

is no indication that § 514B-22(2) applies.   This Court therefore

CONCLUDES, for purposes of the instant Motions only, that

Chapter 514B applies.

          The version of § 514B-146(a) in effect at the time of

the foreclosure of Plaintiffs’ Unit stated, in pertinent part:

          All sums assessed by the association but unpaid
          for the share of the common expenses chargeable to
          any unit shall constitute a lien on the unit with
          priority over all other liens . . .

          The lien of the association may be foreclosed by
          action or by nonjudicial or power of sale
          foreclosure procedures set forth in chapter 667,
          by the managing agent or board, acting on behalf
          of the association, in like manner as a mortgage
          of real property. . . .

Haw. Rev. Stat. § 514B-146(a) (2010).6

          During the relevant time period, Chapter 667, Part I

contained the following provisions relevant to the instant case:



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       This Court notes that Chow argues that Haw. Rev. Stat.
Chapter 514A applies. See, e.g., Mem. in Supp. of Chow Motion at
12-13. Although this Court has concluded – for purposes of the
instant Motions – that Chapter 514B applies, this Court notes
that Haw. Rev. Stat. § 514A-90(a) (2010) was substantially
similar to § 514B-146(a) (2010).

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Haw. Rev. Stat. § 667-1 (2010) stated: “The circuit court may

assess the amount due upon a mortgage, whether of real or

personal property, without the intervention of a jury, and shall

render judgment for the amount awarded, and the foreclosure of

the mortgage.   Execution may be issued on the judgment, as

ordered by the court.”

Haw. Rev. Stat. § 667-5 (2010) stated, in pertinent part:

          (a) When a power of sale is contained in a
          mortgage, and where the mortgagee, the mortgagee’s
          successor in interest, or any person authorized by
          the power to act in the premises, desires to
          foreclose under power of sale upon breach of a
          condition of the mortgage, the mortgagee,
          successor, or person shall be represented by an
          attorney who is licensed to practice law in the
          State and is physically located in the State. The
          attorney shall:

                (1) Give notice of the mortgagee’s,
                successor’s, or person’s intention to
                foreclose the mortgage and of the sale of the
                mortgaged property, by publication of the
                notice once in each of three successive weeks
                (three publications), the last publication to
                be not less than fourteen days before the day
                of sale, in a newspaper having a general
                circulation in the county in which the
                mortgaged property lies; and

                (2) Give any notices and do all acts as are
                authorized or required by the power contained
                in the mortgage.

          (b) Copies of the notice required under
          subsection (a) shall be:

                (1) Filed with the state director of
                taxation; and

                (2) Posted on the premises not less than
                twenty-one days before the day of sale.

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          (c) Upon the request of any person entitled to
          notice pursuant to this section and sections
          667-5.5 and 667-6, the attorney, the mortgagee,
          successor, or person represented by the attorney
          shall disclose to the requestor the following
          information:

               (1) The amount to cure the default, together
               with the estimated amount of the foreclosing
               mortgagee’s attorneys’ fees and costs, and
               all other fees and costs estimated to be
               incurred by the foreclosing mortgagee related
               to the default prior to the auction within
               five business days of the request; and

               (2) The sale price of the mortgaged property
               once auctioned.

          (d) Any sale, of which notice has been given as
          aforesaid, may be postponed from time to time by
          public announcement made by the mortgagee or by
          some person acting on the mortgagee’s behalf.
          Upon request made by any person who is entitled to
          notice pursuant to section 667-5.5 or 667-6, or
          this section, the mortgagee or person acting on
          the mortgagee’s behalf shall provide the date and
          time of a postponed auction, or if the auction is
          canceled, information that the auction was
          canceled. The mortgagee within thirty days after
          selling the property in pursuance of the power,
          shall file a copy of the notice of sale and the
          mortgagee’s affidavit, setting forth the
          mortgagee’s acts in the premises fully and
          particularly, in the bureau of conveyances.

Haw. Rev. Stat. § 667-5(a)-(d) (2010).

          In contrast, Chapter 667, Part II contained the

following provisions during the relevant time period:

Haw. Rev. Stat. § 667-21(a) (2010) stated: “The process in this

part is an alternative power of sale process to the foreclosure

by action and the foreclosure by power of sale in part I.”



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Haw. Rev. Stat. § 667-40 states:7

             A power of sale foreclosure under this part may be
             used in certain non-mortgage situations where a
             law or a written document contains, authorizes,
             permits, or provides for a power of sale, a power
             of sale foreclosure, a power of sale remedy, or a
             nonjudicial foreclosure. These laws or written
             documents are limited to those involving time
             share plans, condominium property regimes, and
             agreements of sale.

Chapter 667, Part II included procedural requirements protecting

the mortgagor, beyond what was required under Chapter 667,

Part I.   For example, Part II had heightened notice requirements,

including requiring the foreclosing mortgagee to provide the

mortgagor with notice of how he could cure the default, Haw. Rev.

Stat. § 667-22 (2010), and additional requirements for the public

sale of the mortgaged property, Haw. Rev. Stat. §§ 667-25 to 667-

29 (2010).

             Section 514B-146(a) (2010) allowed a condominium

association to foreclose on its lien through Chapter 667, Part I

or Part II, but it did not specify when each part could be used.8

The Second Amended Complaint alleges that there is federal

question jurisdiction pursuant to 28 U.S.C. § 1331 over

Plaintiffs’ FDCPA claim, and either diversity jurisdiction



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       The current version of § 667-40 was also in effect at the
time of the events at issue in this case.
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       In 2010, Part III of Chapter 667 was “Other Provisions,”
and Part IV was “Time Share Interest Foreclosures.” Neither part
is relevant to the instant case.

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pursuant to 28 U.S.C. § 1332 or supplemental jurisdiction

pursuant to 28 U.S.C. § 1367(a) over their state law claims.

[Second Amended Complaint at ¶¶ 5-7.]   “When a district court

sits in diversity, or hears state law claims based on

supplemental jurisdiction, the court applies state substantive

law to the state law claims.”   Mason & Dixon Intermodal, Inc. v.

Lapmaster Int’l LLC, 632 F.3d 1056, 1060 (9th Cir. 2011).     When

interpreting § 514B-146(a) (2010) and the other Hawai`i statutes

relevant to the instant case, this Court is bound by the

decisions of the Hawai`i Supreme Court.   See Trishan Air, Inc. v.

Fed. Ins. Co., 635 F.3d 422, 427 (9th Cir. 2011).

          The Hawai`i Supreme Court has not addressed the issue

of whether, pursuant to § 514B-146(a) (2010), a condominium

association could foreclose on its lien using the procedures set

forth in Chapter 667, Part I, or whether it was required to use

Chapter 667, Part II under certain circumstances.

          In the absence of a governing state decision, a
          federal court attempts to predict how the highest
          state court would decide the issue, using
          intermediate appellate court decisions, decisions
          from other jurisdictions, statutes, treatises, and
          restatements as guidance. [Trishan Air, 635 F.3d
          at 427]; see also Burlington Ins. Co. v. Oceanic
          Design & Constr., Inc., 383 F.3d 940, 944 (9th
          Cir. 2004) (“To the extent this case raises issues
          of first impression, our court, sitting in
          diversity, must use its best judgment to predict
          how the Hawai`i Supreme Court would decide the
          issue.” (quotation and brackets omitted)).




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Evanston Ins. Co. v. Nagano, 891 F. Supp. 2d 1179, 1189 (D.

Hawai`i 2012) (some citations omitted).   Thus, this Court is

tasked with predicting whether the Hawai`i Supreme Court would

hold that the Chapter 667, Part I foreclosure process was

available to the AOAO under the facts of this case.

          Defendants ask this Court to consider two state circuit

court cases in which the circuit court granted motions to dismiss

that raised the same argument Defendants advance here – the

defendant condominium association was authorized to use

Chapter 667, Part I to foreclose upon its lien.   In Valencia v.

Association of Apartment Owners of Palm Villas II, et al., Civil

No. 16-1-1294-07 GWBC, the circuit court granted Defendants

Ekimoto & Morris, LLLC, Arlette S. Harada, and John A. Morris’s

(“Ekimoto Defendants”) motion to dismiss the Valencias’ First

Amended Complaint.9   [Chow Motion, Decl. of Peter W. Olson,

Exh. 3 (order granting the Ekimoto Defendants’ motion to dismiss

(“Valencia Order”)); id., Exh. 4 (Trans. of 9/21/16 hearing on

motion to dismiss (“Valencia Transcript”)).]   In Malabe v.

Association of Apartment Owners of Executive Centre, Civil



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       Defendant Ekimoto & Morris, LLLC is a Hawai`i law firm,
and Defendants Harada and Morris are Hawai`i attorneys. [Chow
Motion, Decl. of Peter W. Olson, Exh. 2 (First Amended Complaint
in Valencia) at ¶¶ 3-5.] According to the Valencias’ First
Amended Complaint, the Ekimoto Defendants advised the association
defendant “regarding the non-judicial foreclosure process and
also conducted the non-judicial foreclosure sale at issue” in
Valencia. [Id. at ¶ 10.]

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No. 16-1-2256-12 RAN, the circuit court granted the defendant

association’s motion to dismiss the complaint.    [Suppl. Exhs.,

Decl. of David R. Major (“Suppl. Major Decl.”), Exh. B (order

granting motion to dismiss (“Malabe Order”)); id., Exh. E (Trans.

of 2/2/17 hearing on motion to dismiss (“Malabe Transcript”)).]

          This district court has recognized that “[a] federal

district court may look to state trial court decisions as

persuasive authority, but those decisions are not binding on the

federal court.”   Engle v. Liberty Mut. Fire Ins. Co., 402 F.

Supp. 2d 1157, 1161 (D. Hawai`i 2005) (citing Spinner Corp. v.

Princeville Dev. Corp., 849 F.2d 388, 390 (9th Cir. 1988); King

v. Order of United Commercial Travelers of America, 333 U.S. 153,

161, 68 S. Ct. 488, 92 L. Ed. 608 (1948)).   The Valencia Order

and the Malabe Order are not binding upon this Court, but it must

decide whether to consider those orders as persuasive authority.

First, this Court notes that each circuit court’s legal analysis

is not clear from either the order denying the motion to dismiss

or the transcript of the hearing on the motion.   Further, the

procedural posture in each case does not render the orders

persuasive.   The Valencias have not had the opportunity to appeal

the Valencia Order because the proceedings in that case are on-

going, and the association defendant’s motion to dismiss appears

to be pending before the circuit court.   Judgment was entered in

Malabe on February 17, 2017.   [Suppl. Major Decl., Exh. C (Final


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Judgment); id., Exh. D (Notice of Entry of Final Judgment).]       The

thirty-day period to file a notice of appeal has passed, see Haw.

R. App. P. 4(a)(1), and, according to the state court’s docket

sheet, the Malabes have not filed a notice of appeal.    For these

reasons, this Court DECLINES to consider the rulings in Valencia

and Malabe as persuasive authority in the instant case.

             Pursuant to § 514B-146(a) (2010), a condominium

association could foreclose upon its lien using the “foreclosure

procedures set forth in chapter 667.”    The AOAO argues that it

“is crystal clear” from this language “that the legislature

intended [to] afford condominium associations all three options

for foreclosure, including . . . non-judicial (HRS § 667-5).”

[Mem. in Supp. of AOAO Motion at 7.]    However, § 514B-146(a)

(2010) also stated that the condominium’s foreclosure pursuant to

Chapter 667 had to be “in like manner as a mortgage of real

property.”    Section 667-5(a) (2010) expressly stated, “[w]hen a

power of sale is contained in a mortgage, and where the

mortgagee . . . desires to foreclose under power of sale upon

breach of a condition of a mortgage . . . .”    (Emphasis added.)

The Hawai`i Supreme Court has construed this language as

requiring an agreed upon power of sale in a mortgage in order to

invoke the § 667-5 (2010) procedures.    The supreme court stated:

                  Prior to its repeal in 2012, HRS § 667–5
             authorized the non-judicial foreclosure of
             mortgaged property only “[w]hen a power of sale is

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          contained in a mortgage.” HRS § 667–5(a). This
          court examined HRS § 667–5 in Lee v. HSBC Bank
          USA, 121 Hawai`i 287, 218 P.3d 775 (2009), and
          found that it “authorize[d] nonjudicial
          foreclosure under a power of sale clause contained
          in a mortgage.” Id. at 289, 218 P.3d at 777
          (emphases added). In Lee, the plaintiffs argued,
          and this court agreed, that “no state statute
          creates a right in mortgagees to proceed by non-
          judicial foreclosure; the right is created by
          contract.” Id. at at [sic] 292, 218 P.3d at 780.

               Thus, this court has held that HRS § 667–5
          does not provide the nonjudicial power of
          foreclosure but only allows its creation, if the
          parties choose to do so, within the four corners
          of a contract. See id.; see also Apao v. Bank of
          N.Y., 324 F.3d 1091, 1095 (9th Cir. 2003) (finding
          that HRS § 667–5 “did not confer the power of
          sale, but merely authorized the parties to
          contract for the express terms of foreclosure upon
          default”).

Santiago v. Tanaka, 137 Hawai`i 137, 154–55, 366 P.3d 612, 629–30

(bold emphases added) (italic emphases and some alterations in

Santiago) (footnotes omitted), cert. denied, Tanaka v. Santiago,

137 S. Ct. 198 (2016).   In Lee, the Hawai`i Supreme Court also

stated:

          A mortgagee, or an entity acting on its behalf,
          cannot, however, proceed with a nonjudicial
          foreclosure under a power of sale clause in the
          mortgage unless it complies with either HRS
          section 667–5, or its alternative HRS sections
          667–21, et seq. Without such compliance, the
          mortgagee has no legal authority to exercise its
          power of sale in a nonjudicial foreclosure sale.

121 Hawai`i at 292, 218 P.3d at 780 (footnote omitted).   Thus,

Plaintiffs argue that, without a power of sale provision and

compliance with the requirements of § 667-5, a condominium


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association does not have the legal authority to conduct the

nonjudicial foreclosure sale.

          In contrast, Chapter 667, Part II’s “alternative power

of sale process” is expressly made available “in certain non-

mortgage situations” – such as in condominium property regimes –

“where a law or a written document contains, authorizes, permits,

or provides for a power of sale, a power of sale foreclosure, a

power of sale remedy, or a nonjudicial foreclosure.”   § 667-40.

Further, unlike Chapter 667, Part I (which does not have a

specific definition of the term “mortgage”), Chapter 667, Part II

contains a broad definition of the term “mortgage.”    Under

Part II, the term “mortgage” is not limited to the commonly

understood legal meaning of the term,10 but it also includes any

“other document under which property is . . . rendered subject to


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       For example, Black’s Law Dictionary includes the
following definitions of the term “mortgage”:

          1. A conveyance of title to property that is given
          as security for the payment of a debt or the
          performance of a duty and that will become void
          upon payment or performance according to the
          stipulated terms. – Also termed (archaically) dead
          pledge. 2. A lien against property that is
          granted to secure an obligation (such as a debt)
          and that is extinguished upon payment or
          performance according to stipulated terms. 3. An
          instrument (such as a deed or contract) specifying
          the terms of such a transaction. 4. Loosely, the
          loan on which such a transaction is based. 5. The
          mortgagee’s rights conferred by such a
          transaction. . . .

(10th ed. 2014.)

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a lien for the purpose of securing the payment of money.”   § 667-

21(b) (2010).   Thus, a condominium document which renders a

condominium subject to a lien for the purpose of securing the

owner’s payment of association fees constituted a mortgage for

purposes of Chapter 667, Part II, even though it would not have

constituted a mortgage for purposes of Chapter 667, Part I.

          Further, unlike § 667-5 (2010), which – as interpreted

by the Hawai`i Supreme Court – required that the mortgagor and

the mortgagee agreed to the power of nonjudicial foreclosure,

Chapter 667, Part II also contains a broad definition of “power

of sale” that is not limited to the creation by the parties of

the power “within the four corners of a contract.”   For purposes

of Part II: “‘Power of sale’ or ‘power of sale foreclosure’ means

a nonjudicial foreclosure under this part when the mortgage

contains, authorizes, permits, or provides for a power of sale, a

power of sale foreclosure, a power of sale remedy, or a

nonjudicial foreclosure.”   § 667-21(b) (2010).   Thus, even a

traditional mortgage which does not contain an agreed-upon power

of sale provision may be deemed to contain a power of sale or to

authorize a power of sale foreclosure for purposes of

Chapter 667, Part II.

          Only a limited class of mortgages – or liens that are

deemed to be like a mortgage – may be foreclosed using

Chapter 667, Part I, whereas a much broader range of liens may be


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foreclosed using Chapter 667, Part II, including liens created

pursuant to documents deemed to be like mortgages by operation of

law.    This is consistent with the Hawai`i State Legislature

including far more protections for the mortgagor in Part II than

in Part I.      Because it is easier for a mortgagee to foreclose

under Part I, the threshold requirements for Part I to apply are

higher.      Thus, this Court concludes that: the statutes in

question (as interpreted by the Hawai`i Supreme Court) are

unambiguous; and a plain language reading of the statutes shows

that there are situations when a condominium association cannot

use Chapter 667, Part I to foreclose upon its lien – i.e., when

the association does not have an agreement with the homeowner

providing for a power of sale.11      Although this Court could stop

its analysis there, this Court also notes that its interpretation

of Chapter 667 is consistent with the legislative intent behind

the 2010 versions of the statutes in question.12


       11
       When a federal district court interprets a provision of
the Hawai`i Revised Statutes, “the court first looks to its plain
language.” Cycle City, Ltd. v. Harley-Davidson Motor Co., 81 F.
Supp. 3d 993, 1008 (D. Hawai`i 2014) (citing Awakuni v. Awana,
115 Hawai`i 126, 165 P.3d 1027, 1033–34 (2007)).
       12
            This district court has stated:

              If the statutory language is plain and
              unambiguous, the courts give effect to the
              statute’s plain meaning. Haw. State Teachers
              Ass’n v. Abercrombie, 271 P.3d 613, 615 (Haw.
              2012) (quoting Haw. Gov’t Emps. Ass’n, AFSCME
              Local 152, AFL–CIO v. Lingle, 239 P.3d 1, 6 (Haw.
                                                       (continued...)

                                    19
             The Hawai`i Supreme Court’s discussion in Hungate of

the legislative history behind the 2008 amendments to Chapter 667

is instructive.

             [A]mendments to the foreclosure process set forth
             in HRS chapter 667 Part I were intended to
             “expand[] the rights of mortgagors.” Kondaur
             Capital Corp. v. Matsuyoshi, 136 Hawai`i 227, 239,
             361 P.3d 454, 466 (2015) (explaining that
             amendments to former HRS § 667-5 “added
             requirements that mortgagees must fulfill in order
             to accomplish a valid foreclosure sale” resulting
             in a benefit to mortgagors by “expand[ing] and
             bolster[ing] the protections to which they are
             entitled”).

                  . . . [A] close reading of the legislative
             history of the 2008 amendment shows it was enacted
             to set additional burdens on the mortgagee to
             protect the mortgagor . . . . The amendment’s
             structure or scheme attempted “to streamline and
             ensure transparency in the non-judicial
             foreclosure process by requiring a foreclosure
             mortgagee to provide pertinent information
             regarding the property to interested parties.” S.

     12
          (...continued)
              2010)). If the statutory language is ambiguous,
              the Hawaii courts look to the context in which the
              ambiguous terms are used. Id.

                  Implicit in the analysis of a statute’s terms
             is the consideration of the legislature’s intent.
             Haw. State Teachers Ass’n, 271 P.3d at 615. The
             Hawaii Supreme Court has recognized that state
             statutes should be interpreted in a manner that
             avoids absurd, contradictory, illogical, and
             inconsistent results. Seki ex rel. Louie v. Haw.
             Gov’t Emps. Ass’n, AFSCME Local No. 152, AFL–CIO,
             328 P.3d 394, 409–10 (Haw. 2014); Gray v.
             Administrative Dir. of the Court, 931 P.2d 580,
             590 (Haw. 1997).

Wagner v. Lahaina Baptist Church, Civil No. 16-00186 HG-RLP, 2016
WL 5339346, at *3 (D. Hawai`i Sept. 22, 2016).

                                   20
            Stand. Comm. Rep. No. 2108, in 2008 Senate
            Journal, at 917 (emphasis added).

2017 WL 747870, at *9 (italic emphases and some alterations in

Hungate) (bold emphases added); see also id. (“the statute was

amended to benefit the ‘party in breach of the mortgage

agreement’” (quoting H. Stand. Comm. Rep. No. 1192, in 2008 House

Journal, at 1450)).   Section 514B-146(a) (2010) – which was in

effect in 2008 when the legislature enacted the 2008 amendments

to Chapter 667 – provided that the foreclosure of a condominium

association lien was to be treated like the foreclosure of a

mortgage.   Because the legislature is presumed to have been aware

of that fact when it enacted the 2008 amendments to

Chapter 667,13 the legislature is also presumed to have intended

that the additional protections provided for mortgagors in the

amendments to Chapter 667 would also be available to condominium

owners subject to condominium association liens.

            Under Defendants’ proposed interpretation of § 514B-

146(a) (2010), a condominium association could choose freely

between judicial foreclosure, Part I foreclosure, or Part II

foreclosure.   In other words, Defendants assert that Chapter 667,

Part I foreclosure was available to the association regardless of

whether there was an agreed upon power of sale.    In this Court’s


     13
       “[T]he legislature is presumed to know the law when
enacting statutes[.]” Tamashiro v. Dep’t of Human Servs., 112
Hawai`i 388, 427, 146 P.3d 103, 142 (2006) (some alterations in
Tamashiro) (citation and quotation marks omitted).

                                 21
view, this is an illogical, and almost absurd, interpretation of

§ 514B-146(a) (2010) because it would render Chapter 667, Part II

meaningless in the context of condominium association liens.

Condominium associations would simply avoid additional burdens

imposed in Part II if they could proceed under Part I without

restriction.   Further, if foreclosing associations were allowed

to use Part I without an agreed upon power of sale (something

foreclosing mortgagees could not do), then the mandate in § 514B-

146(a) (2010) that the foreclosure of an association lien be

treated “in like manner as a mortgage of real property” would be

meaningless.   This Court therefore REJECTS Defendants’ proposed

interpretation of § 514B-146(a) (2010) as being contrary to the

related legislative history of Chapter 667 and to the principles

of statutory construction.

          Having examined the relevant statutes, their

legislative history, and instructive case law regarding the

foreclosure of mortgages, this Court PREDICTS that the Hawai`i

Supreme Court would reject Defendants’ proposed interpretation of

§ 514B-146(a) (2010) and would agree with Plaintiffs’ proposed

interpretation.   Thus, this Court CONCLUDES that, because § 514B-

146(a) (2010) required a condominium association to foreclose

upon its lien “in like manner as a mortgage of real property,” an

association could only use the Chapter 667, Part I foreclosure

procedure if it had an agreement with the condominium owner


                                22
providing for a power of sale.   To the extent that the AOAO

Motion and the Chow Motion ask this Court to conclude that

condominium associations could freely elect between the Chapter

667, Part I foreclosure procedure and the Part II procedure, the

Motions are both DENIED.

           This Court now turns to the issue of whether each of

Plaintiffs’ claims states a plausible claim for relief.   See

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (“To survive a motion

to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible

on its face.’” (quoting Bell Atlantic Corp. v. Twombly, 550 U.S.

544, 570, 127 S. Ct. 1955 (2007))).

II.   Count I - Wrongful Foreclosure

           The AOAO argues that Hawai`i courts have not expressly

recognized that a wrongful foreclosure cause of action exists,

but it acknowledges that this district court has recognized that

there may be certain circumstances under which Hawai`i courts

would recognize the claim.   This district court has stated: “A

plaintiff may bring a wrongful foreclosure claim where: (1) ‘the

foreclosure process failed to comply with Haw. Rev. Stat.

Chapter 667[;]’ and (2) the foreclosing entity did not have the

right to foreclose.”   Uy v. HSBC Bank USA, Nat’l Ass’n, Civ. No.

14-00261 HG-KSC, 2015 WL 1966689, at *8 (D. Hawai`i Apr. 30,

2015) (alteration in Uy) (quoting Lowther v. U.S. Bank N.A., Civ.


                                 23
No. 13–00235 LEK–BMK, 2013 WL 4777129, at *20, 21 (D. Haw. Sept.

4, 2013)).14   Further, in Federal Home Loan Mortgage Corp. v.

Kama, this district court noted that the Hawai`i Supreme Court’s

decision in Kondaur Capital Corp. v. Matsuyoshi, 136 Hawai`i 227,

361 P.3d 454 (2015), supported the proposition that there is a

cognizable wrongful foreclosure claim under Hawai`i law.   Kama,

Civ. No. 14-00137 ACK-KSC, 2016 WL 922780, at *5–6 (D. Hawai`i

Mar. 9, 2016).   Even more recently, in Hungate, the Hawai`i

Supreme Court held that “creating a cause of action under former

HRS § 667-5 is not necessary to protect the interests of the

mortgagor” because:

          the mortgagor can protect its interests through
          filing a claim against the mortgagee for wrongful
          foreclosure. See Santiago v. Tanaka, 137 Hawai`i
          137, 158-59, 366 P.3d 612, 633-34 (2016) (holding
          the nonjudicial foreclosure was wrongful and
          awarding restitution to mortgagor). When voiding
          the foreclosure is not possible, the mortgagor is
          entitled to “restitution of their proven
          out-of-pocket losses” through a wrongful
          foreclosure claim. Id. at 158, 366 P.3d at 633.
          Because mortgagees could be required to provide
          restitution to injured mortgagors under a wrongful
          foreclosure claim, a “sufficient incentive” exists
          for mortgagees to ensure that the foreclosure
          proceedings are correctly performed by attorneys.
          Best Place, Inc. [v. Penn Am. Ins. Co.], 82
          Hawai`i [120,] 127, 920 P.2d [334,] 341
          [(1996)]. . . .

2017 WL 747870, at *10 (emphasis added).   This Court therefore



     14
       The Lowther order cited in Uy v. HSBC Bank as 2013 WL
4777129 is the same order cited as Lowther v. U.S. Bank N.A., 971
F. Supp. 2d 989, 1013-14 (D. Hawai`i 2013).

                                 24
concludes that wrongful foreclosure is a cognizable claim under

Hawai`i law.

          Plaintiffs’ Second Amended Complaint alleges that,

although Defendants gave notice and conducted the public sale of

the Unit pursuant to Chapter 667, Part I, they were required to

use Chapter 667, Part II, [Second Amended Complaint at ¶¶ 18, 22,

26,] because the AOAO “did not hold a mortgage [– or, by virtue

of § 514B-146(a) (2010) – a lien that is treated like a mortgage

–] containing a power of sale,” [id. at ¶ 25].    Plaintiffs allege

that they suffered damages because of Defendants’ wrongful use of

Chapter 667, Part I because, had Defendants complied with the

provisions of Chapter 667, Part II, Plaintiffs would not have

lost the Unit.   [Id. at ¶¶ 27, 34.]   This Court CONCLUDES that

these allegations are sufficient to state the elements of a

wrongful foreclosure claim against the AOAO.15




     15
       This Court notes that Plaintiffs argue that, even if the
AOAO was authorized to use Chapter 667, Part I, the foreclosure
of the Unit was still wrongful because the AOAO failed to comply
with the requirements of Ulrich v. Security Inv. Co., 35 Haw.
158, 182 (Haw. Terr. 1939). This Court notes that the Hawai`i
Supreme Court has “recently reaffirmed Ulrich and recognized that
this common law duty extends to mortgagees conducting non-
judicial foreclosure sales of real property.” Hungate, 2017 WL
747870, at *10 (citing Kondaur Capital Corp. v. Matsuyoshi, 136
Hawai`i 227, 361 P.3d 454 (2015)). However, this Court does not
construe Count I of Plaintiffs’ Second Amended Complaint as
alleging a wrongful foreclosure claim against the AOAO based on
the failure to comply with the requirements in Ulrich. If
Plaintiffs intend to assert such a claim, they must obtain leave
of court to file a third amended complaint.

                                25
     A.     Timeliness

            Defendants have argued that Plaintiffs’ claims are

time-barred.    This Court has predicted that the Hawai`i Supreme

Court would hold that a six-year limitations period applies to

wrongful foreclosure claims pursuant to Haw. Rev. Stat. § 657-

1(1).16   Lowther, 971 F. Supp. 2d at 1013-14 (discussing

Niutupuivaha v. Wells Fargo Bank, N.A., Civil No. 13-00172

LEK-KSC, 2013 WL 3819600, at *9 (D. Hawai`i July 22, 2013)).

            In the instant case, the foreclosure sale of the Unit

occurred “on or about October 19, 2010.”       [Second Amended

Complaint at ¶ 18.]      Plaintiffs filed this action well within six

years of that date.      See Notice of Removal, Decl. of David R.

Major, Exh. A (First Amended Complaint, filed in state court on

January 15, 2016).    Therefore, this Court REJECTS Defendants’

argument that it should dismiss Count I on the ground that the

claim is untimely.



     16
          Haw. Rev. Stat. § 657-1(1) states:

            The following actions shall be commenced within
            six years next after the cause of action accrued,
            and not after:

                 (1) Actions for the recovery of any debt
                 founded upon any contract, obligation, or
                 liability, excepting such as are brought upon
                 the judgment or decree of a court; excepting
                 further that actions for the recovery of any
                 debt founded upon any contract, obligation,
                 or liability made pursuant to chapter 577A
                 shall be governed by chapter 577A[.]

                                   26
          Because Plaintiffs have sufficiently pleaded the

elements of their wrongful foreclosure claim against the AOAO,

and this Court concludes – for purposes of the instant Motions

only – that the claim is timely, the AOAO Motion is DENIED as to

Plaintiffs’ claim against the AOAO in Count I.17

     B.   Claim against Chow

          Relevant to Plaintiffs’ wrongful foreclosure claim

against Chow, the Hawai`i Supreme Court stated in Hungate,

“[a]lthough [the bank’s attorney] failed to follow some

requirements of former HRS § 667-5, we hold that the statute did

not create a cause of action against attorneys who fail to follow

its requirements.”   2017 WL 747870, at *8.   The Hawai`i Supreme

Court was not addressing the issue of whether a mortgagor can

bring a wrongful foreclosure claim against the attorney who

represented the mortgagee in the foreclosure process; it was

addressing whether there was a cause of action against the

mortgagee’s attorney directly under the former § 667-5.   However,

the analysis is the same for the wrongful foreclosure claim

against Chow in the instant case.    Section 667-5 (2010) imposed

duties upon the foreclosing mortgagee to protect the mortgagor’s

rights, and the failure to comply with the requirements of that

statute could be vindicated through a wrongful foreclosure claim

     17
       To the extent that the AOAO Motion raises any other
arguments regarding Count I that are not expressly addressed in
this section, those arguments are also rejected.

                                27
against the mortgagee, not the mortgagee’s attorney.   This Court

therefore CONCLUDES that a mortgagor cannot bring a wrongful

foreclosure action against the mortgagee’s attorney for failing

to comply with the requirements of Chapter 667.   Because the

foreclosure of a condominium association’s lien is treated like

the foreclosure of a mortgage, a condominium owner cannot bring a

wrongful foreclosure action against the condominium association’s

attorney for failing to comply with the requirements of

Chapter 667.

          Plaintiffs’ wrongful foreclosure claim against Chow

fails to state a claim upon which relief can be granted.   See

Fed. R. Civ. P. 12(b)(6).    Further, this Court CONCLUDES that

Plaintiffs’ wrongful foreclosure claim against Chow cannot be

saved by any amendment.   See Sonoma Cty. Ass’n of Retired Emps.

v. Sonoma Cty., 708 F.3d 1109, 1118 (9th Cir. 2013) (“As a

general rule, dismissal without leave to amend is improper unless

it is clear, upon de novo review, that the complaint could not be

saved by any amendment.” (brackets, citation, and internal

quotation marks omitted)).    This Court therefore GRANTS the Chow

Motion insofar as Plaintiffs’ claim in Count I against Chow is

DISMISSED WITH PREJUDICE.

III. Count II - FDCPA Claim

          Count II alleges that Chow violated 15 U.S.C. § 1692f,

which states, in pertinent part:


                                 28
          A debt collector may not use unfair or
          unconscionable means to collect or attempt to
          collect any debt. Without limiting the general
          application of the foregoing, the following
          conduct is a violation of this section:

          . . . .

               (6) Taking or threatening to take any
               nonjudicial action to effect dispossession or
               disablement of property if–

                    (A) there is no present right to
                    possession of the property claimed
                    as collateral through an
                    enforceable security interest[.]

For purposes of the FDCPA:

          The term “debt collector” means any person who
          uses any instrumentality of interstate commerce or
          the mails in any business the principal purpose of
          which is the collection of any debts, or who
          regularly collects or attempts to collect,
          directly or indirectly, debts owed or due or
          asserted to be owed or due another. . . .

15 U.S.C. § 1692a(6).

     A.   Whether Chow is a “Debt Collector”

          Chow argues that Count II fails as a matter of law

because nonjudicial foreclosures – including foreclosures by

condominium associations – are not actions to collect a debt for

purposes of the FDCPA.   However, the Ninth Circuit has stated:

          [T]he FDCPA “applies to the litigating activities
          of lawyers.” Heintz [v. Jenkins], 514 U.S. [291,]
          294, 115 S. Ct. 1489 [(1995)]. The Supreme
          Court’s reasoning in Heintz was twofold. First,
          the Court reasoned that lawyers who collect debts
          through litigation plainly fall within the
          statutory language defining “‘debt collector[s]’”
          to include those who “‘regularly collec[t] or
          attemp[t] to collect, directly or indirectly,

                                29
          [consumer] debts owed or due or asserted to be
          owed or due another.’” Id. (quoting 15 U.S.C. §
          1692a(6) (alterations in original)). Second, the
          Court observed that an earlier version of the
          FDCPA provided an exemption for lawyers, but that
          Congress had since repealed that exemption. See
          id. at 294–95, 115 S. Ct. 1489; Pub. L. No.
          95–109, § 803(6)(F), 91 Stat. 874, 875 (1977)
          (exempting from the definition of the term “debt
          collector” “any attorney-at-law collecting a debt
          as an attorney on behalf of and in the name of a
          client”); Pub. L. No. 99–361, 100 Stat. 768 (1986)
          (repealing the exemption); see also 15 U.S.C.
          § 1692a(6)(A)-(F) (listing current exceptions to
          the definition of “debt collector,” none of which
          cover attorneys).

McCollough v. Johnson, Rodenburg & Lauinger, LLC, 637 F.3d 939,

951 (9th Cir. 2011) (some alterations in McCollough).

          It is true that this district court has recognized that

borrowers/mortgagors cannot bring FDCPA claims against

lenders/mortgagees based on mortgage foreclosure proceedings:

          To the extent the FDCPA claim is based on the
          foreclosure proceedings, the claim fails as a
          matter of law. See, e.g., Caraang v. PNC
          Mortgage, 795 F. Supp. 2d 1098, 1107 (D. Hawai`i
          2011) (“This district court has ruled that a
          lender pursuing a nonjudicial foreclosure is not
          attempting to collect a debt for purposes of the
          FDCPA.”); Hanaway v. JPMorgan Chase Bank, No. SACV
          10–1809 DOC(PLAx), 2011 WL 672559, at *4 (C.D.
          Cal. Feb. 15, 2011) (“Since a transfer in interest
          is the aim of a foreclosure, and not a collection
          of debt, the foreclosure proceeding is not a debt
          collection action under the FDCPA.”); Aniel v.
          T.D. Serv. Co., No. C 10–03185 JSW, 2010 WL
          3154087, at *1 (N.D. Cal. Aug. 9, 2010) (“[A]
          negations relating to the FDCPA claim relate to
          foreclosure proceedings and courts throughout this
          circuit have concluded that foreclosure does not
          constitute ‘debt collection’ under the FDCPA.”).

Mather v. Cent. Pac. Bank, Civil. No. 14-00139 LEK-BMK, 2014 WL

                               30
5580963, at *4 (D. Hawai`i Oct. 31, 2014) (alteration in Mather)

(citation omitted).

          Similarly, Chow argues that Plaintiffs cannot assert a

FDCPA claim against him because “‘a nonjudicial foreclosure is

not an attempt to collect a debt for purposes of the FDCPA.’”

[Mem. in Supp. of Chow Motion at 36 (quoting Kitamura v. AOAO of

Lihue Townhouse, 2013 WL 1398058, at *4 (D. Haw. 2013)

(Kobayashi, J.)).]    However, in cases where courts have applied

the principle that a nonjudicial foreclosure is not an attempt to

collect a debt in the context of condominium association liens,

the plaintiffs were attempting to bring FDCPA claims against the

association.   See Doran v. Aus, 308 F. App’x 49, 51 (9th Cir.

2009) (holding that the homeowners’ association “was not a debt

collector under the FDCPA, because it was collecting its own

debt” (citing 15 U.S.C. § 1692a(6))); Kitamura v. AOAO of Lihue

Townhouse, Civil No. 12-00353 LEK-BMK, 2013 WL 1398058, at *4 (D.

Hawai`i Mar. 29, 2013) (“the claims against the AOAO must fail

because it is not a ‘debt collector’ under the FDCPA because it

has not attempted to collect a debt ‘owed or due another’”

(quoting 15 U.S.C. § 1692a(6))); see also Minichino v. Piilani

Homeowners Ass’n, CIVIL NO. 16-00461 DKW-RLP, 2016 WL 5796799, at

*4 (D. Hawai`i Sept. 30, 2016) (same); Moore v. Nat’l City Mortg.

Co., CV No. 09-00461 DAE-KSC, 2010 WL 914334, at *4 (D. Hawai`i

Mar. 15, 2010).


                                 31
                In contrast, an attorney representing a condominium

association in a nonjudicial foreclosure proceeding is attempting

to collect a debt “owed or due another.”       See 15 U.S.C.

§ 1692a(6).       Further, while a condominium association’s lien is

treated like a mortgage under § 514B-146(a) (2010), the treatment

of the lien like a mortgage does not extend to enforcement of the

lien for purposes of a FDCPA claim.       As previously noted, the aim

of a foreclosure of a mortgage is to transfer interest in the

property securing the defaulted mortgage, but the situation in

the foreclosure of an association’s lien is not necessarily the

same.        In the present case, the AOAO’s lien for unpaid

assessments was in the amount of $6,882.86, and approximately

four years prior to the recording of this lien, Plaintiffs

purchased the Unit for approximately $312,000.00, significantly

more than the lien amount.       [Second Amended Complaint at ¶¶ 10,

14.]     For purposes of the instant Motions, this Court must take

the factual allegations in Plaintiffs’ Second Amended Complaint

as true.       See Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at

555, 127 S. Ct. 1955).       Based on upon the reasonable inferences

from the factual allegations of the Second Amended Complaint,18

this Court concludes that Plaintiffs have pleaded a plausible


        18
       “A claim has facial plausibility when the plaintiff
pleads factual content that allows the court to draw the
reasonable inference that the defendant is liable for the
misconduct alleged.” Iqbal, 556 U.S. at 678 (citing Twombly, 550
at 556, 127 S. Ct. 1955).

                                     32
claim that the purpose of the AOAO’s nonjudicial foreclosure was

to collect its debt, not to transfer interest in the Unit.19

            In addition, the Second Amended Complaint alleges that

Chow “at the times relevant herein . . . routinely demanded sums

of money and attempted to collect said sums of money by sending

letters and publishing notices falsely stating that [he] was

authorized to use Part I to collect delinquent homeowner

assessments.”   [Second Amended Complaint at ¶ 38.]   This Court

therefore CONCLUDES that Plaintiffs have sufficiently alleged

that Chow is a “debt collector” for purposes of the FDCPA.

     B.     Timeliness

            Defendants have argued that Plaintiffs’ claims are

untimely.   Under the FDCPA: “An action to enforce any liability

created by this subchapter may be brought in any appropriate

United States district court without regard to the amount in

controversy, or in any other court of competent jurisdiction,

within one year from the date on which the violation occurs.”      15

U.S.C. § 1692k(d).    In Lyons v. Michael & Associates, the Ninth

Circuit noted that:

            [I]n general, the discovery rule applies to
            statutes of limitations in federal litigation,
            that is, “[f]ederal law determines when the


     19
       This Court acknowledges that the AOAO did actually obtain
title to the Unit in the public sale. [Second Amended Complaint
at ¶ 19.] However, that alone does not show that the purpose of
the AOAO’s invocation of the nonjudicial foreclosure process was
to transfer interest in the Unit.

                                 33
          limitations period begins to run, and the general
          federal rule is that ‘a limitations period begins
          to run when the plaintiff knows or has reason to
          know of the injury which is the basis of the
          action.’”

824 F.3d 1169, 1171 (9th Cir. 2016) (alterations in Lyons)

(quoting Mangum v. Action Collection Serv., Inc., 575 F.3d 935,

940 (9th Cir. 2009)).   The Ninth Circuit noted that it held in

Mangum that the discovery rule applied to Mangum’s FDCPA claim

regarding “wrongful[] disclos[ure of] her debt information to an

outside party.”   Id.   The Ninth Circuit also noted that, after

Mangum, it applied the discovery rule to an FDCPA claim regarding

debt collection letters.   Id. (citing Tourgeman v. Collins Fin.

Servs., Inc., 755 F.3d 1109, 1118 n.5 (9th Cir. 2014)).   After

discussing these cases, the Ninth Circuit rejected the argument

that the discovery rule only applies to certain FDCPA violations.

Id. at 1172 (“Applying the discovery rule to some FDCPA claims

but not others would be out of step with our general approach to

the discovery rule, and would threaten to capriciously limit the

broad, remedial scope of the FDCPA.”).   This Court therefore

CONCLUDES that the discovery rule applies to the determination of

when the statute of limitations on Plaintiffs’ FDCPA claim began

to run.

          Although Defendants argue that the FDCPA statute of

limitations is not subject to tolling, there is no Ninth Circuit

case law, or order of this district court stating so.   Thus, this


                                 34
Court concludes that tolling of the statute of limitations for

FDCPA claims is possible, but courts have often ruled that

tolling was not warranted under the facts presented.   See, e.g.,

Crow v. Ocwen Loan Servicing, LLC, CIVIL NO. 15-00161 SOM/KJM,

2016 WL 3557008, at *9 (D. Hawai`i June 24, 2016) (ruling that

the plaintiff’s “unfamiliarity with the law does not toll the

FDCPA’s statute of limitations when he knew or should have known

about the actions supporting any FDCPA claim within a year from

his first written notice”); Wilson v. Gordon & Wong Law Grp.,

P.C., No. 2:13-cv-00609-MCE-KJN, 2013 WL 5230387, at *3 (E.D.

Cal. Sept. 16, 2013) (noting that, in a prior order in the case,

“the Court declined to toll the statute of limitations and

explained, ‘[a]t no point does Plaintiffs’ Complaint allege any

facts suggesting that equitable tolling should apply to the FDCPA

. . . statute of limitations’”).

          Plaintiffs allege that:

               28. DEFENDANTS fraudulently concealed the
          wrong they were committing by implying, stating
          and/or representing that they were authorized to
          conduct a nonjudicial foreclosure or public sale
          under Part I.

               29. As members of the homeowner association,
          PLAINTIFFS were entitled to rely on and did rely
          on the statements and representations made by
          DEFENDANTS concerning DEFENDANTS’ right to conduct
          a public sale under Part I.

               30. PLAINTIFFS did not discover the claims
          against DEFENDANTS that they assert herein until
          sometime in December of 2015.


                               35
[Second Amended Complaint at ¶¶ 28-30.]     Taking Plaintiffs’

factual allegations to be true, this Court CONCLUDES that their

factual allegations support a reasonable inference that their

FDCPA claim against Chow is timely, based on either the discovery

rule or equitable tolling because Plaintiffs allege reasonable

reliance on the representations of their homeowners’ association.

At the motion to dismiss stage, this is sufficient to distinguish

Plaintiffs’ position regarding discovery and/or tolling from

arguments based on solely on the plaintiff’s ignorance of the

law.   Determining the merits of Plaintiffs’ position will involve

mixed issues of law and fact that cannot be decided in a motion

to dismiss.

            This Court therefore CONCLUDES that Count II states a

plausible FDCPA claim against Chow.     The Chow Motion is DENIED as

to Count II.

IV.    Count III - UDAP Claim

            In Count III, Plaintiffs assert a UDAP claim against

both Defendants.   Haw. Rev. Stat. § 480-2(a) states, in pertinent

part, “unfair or deceptive acts or practices in the conduct of

any trade or commerce are unlawful.”     Section 480-2(d) states:

“No person other than a consumer, the attorney general or the

director of the office of consumer protection may bring an action

based upon unfair or deceptive acts or practices declared

unlawful by this section.”      For purposes of Chapter 480:


                                   36
“‘Consumer’ means a natural person who, primarily for personal,

family, or household purposes, purchases, attempts to purchase,

or is solicited to purchase goods or services or who commits

money, property, or services in a personal investment.”   Haw.

Rev. Stat. § 480-1.

     A.   Standing

          Plaintiffs are natural persons.   According to the

Second Amended Complaint, they purchased the Unit when Mr. Galima

was stationed in Hawai`i, and they rented the Unit when he was

reassigned outside of Hawai`i.   [Second Amended Complaint at

¶¶ 10, 12.]   Taking Plaintiffs’ factual allegations to be true,

this Court CONCLUDES that the allegations support a reasonable

inference that Plaintiffs are consumers for purposes of § 480-1

because they committed money in a personal investment.    See Cieri

v. Leticia Query Realty, Inc., 80 Hawai`i 54, 67, 905 P.2d 29, 42

(1995) (holding that “by purchasing the home at issue in the

present case, the Cieris committed money in a personal

investment, and accordingly have standing as ‘consumers’”).

     B.   Trade or Commerce

          In addition to their standing as consumers, Plaintiffs

must allege that Defendants’ conduct occurred in the course of

“trade or commerce.”




                                 37
            1.   Chow

            In Hungate, the plaintiff alleged a similar UDAP claim

to the one Plaintiffs allege against Chow.    Hungate alleged that

the foreclosing bank’s attorney, inter alia, failed to comply

with the requirements of Chapter 667, and this conduct also

constituted unfair and deceptive trade acts.    2017 WL 747870, at

*2.

            The Hawai`i Supreme Court rejected the attorney’s

argument that Hungate was not a consumer of the attorney’s

services.   It was sufficient that Hungate was a consumer based on

his mortgage with the bank.   Id. at *14.    However, the supreme

court also rejected Hungate’s argument that the attorney acted as

the bank’s agent in the foreclosure process and was therefore

subject to a UDAP claim.   Hungate’s argument was based on Cieri,

which held that a real estate agent or broker could be named as a

defendant in a UDAP claim arising from a real estate transaction.

The supreme court noted, inter alia, that an attorney’s role in

an adversarial process was distinguishable from the role of a

real estate agent or broker, and that allowing UDAP claims

against a foreclosing bank’s attorney could compromise the

attorney’s representation of the bank.   Id. at *14-15.    It

therefore held that “based on the allegations against [the

attorney], we decline to recognize a UDAP claim against him by

Hungate under HRS § 480-2 in the instant foreclosure action.”


                                 38
Id. at *15.

          In light of the similarity in the UDAP claims against

the attorneys, the same analysis applies to Plaintiffs’ UDAP

claim against Chow in the instant case.    This Court therefore

CONCLUDES that, because Chow’s alleged conduct upon which

Plaintiffs rely to support their UDAP claim did not occur in the

course of “trade or commerce” between Plaintiffs and Chow,

Plaintiffs’ UDAP claim against Chow fails as a matter of law.

Further, this Court CONCLUDES that Plaintiffs’ UDAP claim against

Chow cannot be saved by any amendment.    This Court therefore

GRANTS the Chow Motion insofar as Plaintiffs’ claim in Count III

against Chow is DISMISSED WITH PREJUDICE.

          2.   The AOAO

          Hawai`i courts have recognized other jurisdictions’

interpretation of “trade or commerce” as being within the

“business context.”   Cieri, 80 Hawai`i at 63-65, 905 P.2d at 37-

39 (discussing and adopting several Massachusetts cases stating

that trade or commerce is within the business context); see also

Dalesandro v. Longs Drug Stores Cal., Inc., 383 F. Supp. 2d 1244,

1250 (D. Hawai`i 2005) (adopting the Cieri court’s interpretation

of trade or commerce).    The Hawai`i Supreme Court has stated that

a § 480-2 claim “is not available where the transaction is

strictly private in nature, and is in no way undertaken in the

ordinary course of a trade or business.”    Cieri, 80 Hawai`i at


                                 39
63, 905 P.2d at 38.   Although not directly on point, the supreme

court’s analysis of this issue with regard to the foreclosing

bank in Hungate is instructive:

          Transactions conducted in a business context, “by
          their very nature, include transactions conducted
          by a financial institution,” such as a “loan
          extended by a financial institution[.]” [Haw.
          Cmty. Fed. Credit Union v.] Keka, 94 Hawai`i
          [213,] 227, 11 P.3d [1,] 15 [(2000)]. Thus, the
          nature of a non-judicial foreclosure, which
          results from a loan transaction, is that of a
          transaction conducted in the business context. It
          is undisputed that [the bank] is a financial
          institution regularly engaged in providing loans
          and conducting foreclosures. [The bank’s] acts
          throughout the foreclosure proceedings therefore
          occurred in the business context.

2017 WL 747870, at *12 (some alterations in Hungate).

Condominium associations are empowered to provide a variety of

services to the condominium, which ultimately benefit the

condominium owners, such as: “[h]iring and discharg[ing] managing

agents and other independent contractors, agents, and employees;”

“[r]egulat[ing] the use, maintenance, repair, replacement, and

modification of common elements;” and “[c]aus[ing] additional

improvements to be made as a part of the common elements.”   Haw.

Rev. Stat. § 514B-104(a)(3), (6), (7).20   In order to conduct

these functions, the association collects regular assessments

from condominium owners.   The association’s powers also include:



     20
       The version of § 514B-104 which is currently in effect
was also in effect at the time of the events at issue in this
case.

                                  40
“[i]mpos[ing] charges and penalties, including late fees and

interest, for late payment of assessments”; and “[i]nstitut[ing]

. . . litigation or administrative proceedings in its own name on

behalf of itself or two or more unit owners on matters affecting

the condominium.”   § 514B-104(a)(11), (4).   This Court therefore

CONCLUDES that the AOAO’s placement of a lien on Plaintiffs’ Unit

for unpaid assessments and its foreclosure of that lien occurred

in the business context, and the AOAO’s conduct may give rise to

a UDAP claim.

     C.   Timeliness

          The AOAO also argues that this Court should dismiss

Plaintiffs’ UDAP claim against it because the claim is untimely.

Haw. Rev. Stat. § 480-24 states:

          Any action to enforce a cause of action arising
          under this chapter shall be barred unless
          commenced within four years after the cause of
          action accrues, except as otherwise provided in
          section 480-22. For the purpose of this section,
          a cause of action for a continuing violation is
          deemed to accrue at any time during the period of
          the violation.

Thus, this Court has stated that the limitations period for a

UDAP claim “starts to run upon the occurrence of the defendant’s

alleged violation.”    Lowther, 971 F. Supp. 2d at 1008 (citations,

internal quotation marks and brackets omitted).

          As previously noted, the public sale occurred on or

about October 19, 2010.   [Second Amended Complaint at ¶ 18.]

Plaintiffs also allege that “[t]he quitclaim deed was recorded on

                                 41
November 9, 2010 and since that time AOAO has possessed,

controlled and enjoyed the [Unit] and all of its benefits.”      [Id.

at ¶ 20.]   Even assuming that the nonjudicial foreclosure process

was not complete until, and the alleged UDAP violation ended on,

November 9, 2010, Plaintiffs failed to bring this action within

four years of that date.   Thus, Plaintiffs’ UDAP claim against

the AOAO is time-barred unless the limitations period may be

tolled.

            Plaintiffs contend that the statute of limitations

period was tolled because Defendants fraudulently concealed the

fact that the AOAO was not authorized to foreclose under

Chapter 667, Part I.   This district court has stated:

            “A statute of limitations may be tolled if the
            defendant fraudulently concealed the existence of
            a cause of action in such a way that the
            plaintiff, acting as a reasonable person, did not
            know of its existence.” Hexcel Corp. v. Ineos
            Polymers, Inc., 681 F.3d 1055, 1060 (9th Cir.
            2012). Fraudulent concealment involves the
            actions taken by a liable party to conceal a known
            cause of action, and has been defined as
            “employment of artifice, planned to prevent
            inquiry or escape investigation, and mislead or
            hinder acquirement of information disclosing a
            right of action.” Hancock v. Kulana Partners,
            LLC, 992 F. Supp. 2d 1053, 1062 (D. Haw. Jan. 10,
            2014) (quoting Au [v. Au], 626 P.2d [173,] 178
            [(Haw. 1981)] (internal quotation marks and
            brackets omitted). In order for the doctrine of
            fraudulent concealment to apply, “[t]he acts
            relied on must be of an affirmative character and
            fraudulent.” Id. (quoting Au, 626 P.2d at 178).
            Under both Hawaii and California law, there can be
            no fraudulent concealment if there is a “known
            cause of action.” See Mroz v. Hoaloha Na Eha,
            Inc., 360 F. Supp. 2d 1122, 1129 (D. Haw. 2005)

                                 42
          (“If there is a known cause of action there can be
          no fraudulent concealment[.]”). Moreover,

               It is not necessary that a party should know
               the details of the evidence by which to
               establish his cause of action. It is enough
               that he knows that a cause of action exists
               in his favor, and when he has this knowledge,
               it is his own fault if he does not avail
               himself of those means which the law provides
               for prosecuting or preserving his claim.

          Mroz, 360 F. Supp. 2d at 1129 (internal quotation
          marks and citation omitted).

Moddha Interactive, Inc. v. Philips Elec. N. Am. Corp., 92 F.

Supp. 3d 982, 996 (D. Hawai`i 2015), aff’d sub nom., 654 F. App’x

484 (Fed. Cir. 2016).

          For the same reasons set forth in the discussion of

whether Plaintiffs have pleaded a sufficient basis for tolling of

the statute of limitations applicable to their FDCPA claim, this

Court also CONCLUDES that Plaintiffs have pleaded a sufficient

basis to support tolling of their UDAP claim against the AOAO and

that the merits of Plaintiffs’ tolling argument cannot be

determined at the motion to dismiss stage.

          The Court therefore DENIES the AOAO Motion as to

Plaintiffs’ UDAP claim against the AOAO in Count III.

V.   Count IV - Fraud

          Count IV alleges a fraud claim against both Defendants.

The elements of a fraud claim are: “(1) false representations

were made by defendants, (2) with knowledge of their falsity (or

without knowledge of their truth or falsity), (3) in

                               43
contemplation of plaintiff’s reliance upon these false

representations, and (4) plaintiff did rely upon them.”   Shoppe

v. Gucci Am., Inc., 94 Hawai`i 368, 386, 14 P.3d 1049, 1067

(2000).

     A.   Chow

          Although Hungate did not involve a fraud claim against

the foreclosing mortgagee’s attorney, this Court predicts that

the Hawai`i Supreme Court would apply the same analysis that it

applied to the UDAP claim and would hold that a mortgagor cannot

bring a fraud claim against a mortgagee’s attorney for alleged

misrepresentations made during a nonjudicial foreclosure process.

This Court therefore CONCLUDES that Plaintiffs’ fraud claim

against Chow fails as a matter of law and that it is not possible

for Plaintiffs to cure the defects in the claim by amendment.

The Chow Motion is GRANTED insofar as Plaintiffs’ fraud claim

against Chow in Count IV is DISMISSED WITH PREJUDICE.

     B.   The AOAO

          1.     Timeliness

          First, insofar as Defendants raised general challenges

to the timeliness of Plaintiffs’ claims, this Court will address

whether Plaintiffs’ fraud claim is time-barred.   Plaintiffs’

fraud claim is subject to the six-year limitations period in Haw.




                               44
Rev. Stat. § 657-1(4).21   See Lynch v. Fed. Nat’l Mortg. Ass’n,

CIVIL NO. 16-00213 DKW-KSC, 2016 WL 6776283, at *3 (D. Hawai`i

Nov. 15, 2016) (some citations omitted) (citing Eastman v.

McGowan, 86 Hawai`i 21, 946 P.2d 1317, 1323 (1997)).      Plaintiffs

allege that the AOAO fraudulently represented, throughout the

nonjudicial foreclosure process, that it had the authority to

proceed under Chapter 667, Part I.     As previously noted, the

process arguably concluded on either October 19, 2010 or

November 9, 2010, and Plaintiffs filed this action within six

years of either of those dates.    This Court therefore CONCLUDES –

for purposes of the AOAO Motion only – that Plaintiffs’ fraud

claim against the AOAO is timely.      To the extent that the AOAO

Motion argues that this Court should dismiss Plaintiffs’ fraud

claim against the AOAO as time-barred, the AOAO Motion is DENIED.

          2.   Particularity

          This Court has recognized that fraud claims are subject

to a heightened pleading standard.     The AOAO argues that this

Court must dismiss Count IV because Plaintiffs did not plead

their fraud claim with sufficient particularity.

               [Fed. R. Civ. P.] 9(b) requires that, “[i]n
          alleging fraud or mistake, a party must state with
          particularity the circumstances constituting fraud
          or mistake.” Pursuant to Rule 9(b), a party is
          required to make particularized allegations of the


     21
       Pursuant to § 657-1(4), the six-year limitations period
applies to “[p]ersonal actions of any nature whatsoever not
specifically covered by the laws of the State.”

                                  45
circumstances constituting fraud. See Sanford v.
MemberWorks, Inc., 625 F.3d 550, 557–58 (9th Cir.
2010).

     In their pleadings, Plaintiffs “must allege
the time, place, and content of the fraudulent
representation; conclusory allegations do not
suffice.” See Shroyer v. New Cingular Wireless
Servs., Inc., 622 F.3d 1035, 1042 (9th Cir. 2010)
(citation omitted). “Malice, intent, knowledge,
and other conditions of a person’s mind may be
alleged generally.” Fed. R. Civ. P. 9(b); see
also Odom v. Microsoft Corp., 486 F.3d 541, 554
(9th Cir. 2007) (en banc) (“[T]he state of mind —
or scienter — of the defendants may be alleged
generally.” (citation omitted)); Walling v.
Beverly Enters., 476 F.2d 393, 397 (9th Cir. 1973)
(stating that Rule 9(b) “only requires the
identification of the circumstances constituting
fraud so that the defendant can prepare an
adequate answer from the allegations” (citations
omitted)).

     When there are multiple defendants,

     Rule 9(b) does not allow a complaint to
     merely lump multiple defendants together but
     require[s] plaintiffs to differentiate their
     allegations when suing more than one
     defendant . . . and inform each defendant
     separately of the allegations surrounding his
     alleged participation in the fraud. In the
     context of a fraud suit involving multiple
     defendants, a plaintiff must, at a minimum,
     identif[y] the role of [each] defendant[] in
     the alleged fraudulent scheme.

Swartz v. KPMG LLP, 476 F.3d 756, 764–65 (9th Cir.
2007) (alterations in Swartz) (internal quotation
marks and citations omitted); see also Meridian
Project Sys., Inc. v. Hardin Constr. Co., 404 F.
Supp. 2d 1214, 1226 (E.D. Cal. 2005) (“When fraud
claims involve multiple defendants, the complaint
must satisfy Rule 9(b) particularity requirements
for each defendant.” (citations omitted)).




                     46
Barker v. Gottlieb, 23 F. Supp. 3d 1152, 1164-65 (D. Hawai`i

2014) (alterations in Barker) (some citations omitted).

           First, although there are two defendants named in Count

IV, this Court has dismissed Count IV as to Chow.   This Court

also notes that Plaintiffs asserted an agency theory of liability

against Chow and the actions that Chow allegedly took during the

foreclosure process were taken on behalf of the AOAO.     Thus, this

Court only reads the allegations related to Count IV as being

attributed to the AOAO.

           As to the time, place, and content of the allegedly

fraudulent representation, Plaintiffs’ clearly base their fraud

claim on the AOAO’s representation that it was authorized to

conduct a foreclosure sale of the Unit pursuant to Chapter 667,

Part I.   [Second Amended Complaint at ¶ 51.]   The only specific

time and place identified is the public sale of the Unit, which

occurred on or about October 19, 2010.   [Id. at ¶ 18.]    Although

there were presumably other points in the nonjudicial foreclosure

process when the AOAO represented it had the authority to proceed

under Chapter 667, Part I, the Second Amended Complaint does not

identify those with particularity.   However, the Second Amended

Complaint does sufficiently plead the time, place, and content of

the alleged fraudulent representation at the public sale.

           As to the AOAO’s intent, Count IV alleges that the AOAO

“falsely represented that [it was] authorized to sell the


                                47
Apartment at a public sale under Part I.”   [Second Amended

Complaint at ¶ 51.]   Although “intent, knowledge, and other

conditions of a person’s mind may be alleged generally,”

Rule 9(b), paragraph 51 is not enough to allege that the AOAO

made the alleged misrepresentation with knowledge of its falsity

(or without knowing whether it was true or false).     However, the

general allegations of the Second Amended Complaint also assert

that the AOAO “fraudulently concealed the wrong [it was]

committing by implying, stating and/or representing that [it was]

authorized to conduct a nonjudicial foreclosure or public sale

under Part I.”   [Second Amended Complaint at ¶ 28.]   The Court

concludes that this allegation is sufficient to satisfy the

general pleading requirement for the knowledge requirement of

Plaintiffs’ fraud claim.

          This Court therefore CONCLUDES that Plaintiffs’ fraud

claim against the AOAO is sufficiently pled.   The AOAO’s other

challenges to Plaintiffs’ claim, such as whether it was

reasonable for Plaintiffs to rely on the AOAO’s position

regarding the applicable law, are not appropriate at the motion

to dismiss stage.   The AOAO may wish to revisit such arguments at

a later stage in these proceedings.

          The AOAO Motion is DENIED as to the AOAO’s request to

dismiss Plaintiffs’ fraud claim against it in Count IV.




                                48
VI.   Count V - IIED

             Count V alleges an IIED claim against both

Defendants.22       “The elements of [IIED] pursuant to Hawaii law,

are: (1) that the act allegedly causing the harm was intentional

or reckless, (2) that the act was outrageous, and (3) that the

act caused (4) extreme emotional distress to another.”       Barber v.

Ohana Military Cmtys., LLC, Civil No. 14-00217 HG-KSC, 2014 WL

3529766, at *10 (D. Hawai`i July 15, 2014) (citing Enoka v. AIG

Hawaii Ins. Co., Inc., 128 P.3d 850, 872 (Haw. 2006)).

      A.     Chow

             Although Hungate did not involve an IIED claim against

the foreclosing mortgagee’s attorney, this Court predicts that

the Hawai`i Supreme Court would apply the same analysis that it

applied to the UDAP claim and would hold that a mortgagor cannot

bring an IIED claim against a foreclosing mortgagee’s attorney

for his actions and omissions during a nonjudicial foreclosure

process.   This Court therefore CONCLUDES that Plaintiffs’ IIED

claim against Chow fails as a matter of law and that it is not

possible for Plaintiffs to cure the defects in the claim by

amendment.    This Court therefore GRANTS the Chow Motion insofar



      22
       The AOAO Motion also presents arguments about whether
Plaintiffs have sufficiently pleaded a claim for negligent
infliction of emotional distress (“NIED”). This Court will not
address those arguments because it does not construe Count V as
alleging an NIED claim.

                                     49
as Plaintiffs’ IIED claim against Chow in Count V is DISMISSED

WITH PREJUDICE.

     B.   The AOAO

          1.      Timeliness

          The AOAO argues that this Court must dismiss

Plaintiffs’ IIED claim against it because the claim is time-

barred.

          An IIED claim is subject to a two-year statute of

limitations.   Kuehu v. United Airlines, Inc., Civ. No. 16-00216

ACK-KJM, 2016 WL 4445743, at *6 (D. Hawai`i Aug. 23, 2016) (“The

Hawaii tort statute provides a two-year statute of limitations,

which has been determined to apply to IIED claims.” (citing Haw.

Rev. Stat. § 657-7)).23    The discovery rule applies to the

limitations period for an IIED claim.    See, e.g., DeRosa v. Ass’n

of Apartment Owners of the Golf Villas, 185 F. Supp. 3d 1247,

1260 (D. Hawai`i 2016), reconsideration denied, 2016 WL 3951061

(July 20, 2016).    According to the discovery rule under Hawai`i

law, “a cause of action accrues when the plaintiff knew or should

have known of the causal connection between the defendant’s

action and the damage done.”    Id. (citations omitted).


     23
       Section 657-7 states: “Actions for the recovery of
compensation for damage or injury to persons or property shall be
instituted within two years after the cause of action accrued,
and not after, except as provided in section 657-13.” The
exceptions identified in Haw. Rev. Stat. § 657-13 are not
applicable to the instant case.

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             For the same reasons set forth in the discussion of

Plaintiffs’ tolling arguments as to their FDCPA claim and their

UDAP claim, this Court also CONCLUDES that Plaintiffs have

pleaded a sufficient basis to support either tolling of their

IIED claim against the AOAO or an argument that their IIED claim

is timely based on the discovery rule.    The merits of Plaintiffs’

timeliness arguments cannot be determined at the motion to

dismiss stage.    To the extent that the AOAO Motion asks this

Court to dismiss Plaintiffs’ IIED claim against it as time-

barred, the AOAO Motion is DENIED.

             2.   Whether the Claim is Sufficiently Pled

             Plaintiffs allege that the AOAO “deliberately,

intentionally and wrongfully utilized the expedited power of sale

process contained in Part I to strip the [Unit] from Plaintiffs.”

[Second Amended Complaint at ¶ 60 (emphasis omitted).]     They also

allege that, had the AOAO utilized Chapter 667, Part II, they

would not have lost the Unit, and the loss of the Unit damaged

their credit rating, as well as Mr. Galima’s military career,

which caused them to suffer “mental anguish and emotional

distress.”    [Id. at ¶¶ 59, 61-62.]   Thus, Plaintiffs have clearly

pleaded the first and third elements of their IIED claim.     They

pled the fact that they suffered emotional distress, although

they did not plead the specific wording “extreme emotional

distress.”    However, there is no heightened pleading requirement


                                  51
for an IIED claim, and this Court concludes that the allegation

of “mental anguish” was sufficient to put the AOAO on notice that

Plaintiffs’ emotional distress was extreme.    See Enoka, 109

Hawai`i at 559, 128 P.3d at 872 (“extreme emotional distress

constitutes, inter alia, mental suffering, mental anguish,

nervous shock, and other highly unpleasant mental reactions”

(emphasis added) (citation and internal quotation marks

omitted)).    This Court therefore concludes that the Second

Amended Complaint sufficiently pleads the fourth element of

Plaintiffs’ IIED claim.

             As to the second element (that the AOAO’s conduct was

outrageous), the Hawai`i Supreme Court has held that “[t]he term

‘outrageous’ has been construed to mean ‘without just cause or

excuse and beyond all bounds of decency.’”     Id. (citation

omitted).    This district court has stated:

                  In explaining the type of “outrageous”
             conduct that gives rise to a claim for intentional
             infliction of emotional distress, the Hawaii
             Supreme Court has noted:

                  It has not been enough that the defendant has
                  acted with an intent which is tortious or
                  even criminal, or that he has intended to
                  inflict emotional distress, or even that his
                  conduct has been characterized by “malice,”
                  or a degree of aggravation which would
                  entitle the plaintiff to punitive damages for
                  another tort. Liability has been found only
                  where the conduct has been so outrageous in
                  character, and so extreme in degree, as to go
                  beyond all bounds of decency, and to be
                  regarded as atrocious, and utterly


                                  52
               intolerable in a civilized community.
               Generally, the case is one in which the
               recitation of the facts to an average member
               of the community would arouse his resentment
               against the actor, and lead him to exclaim,
               “Outrageous!”

          Dunlea v. Dappen, 83 Haw. 28, 38, 924 P.2d 196,
          206 (1996).[24] “The question whether the actions
          of the alleged tortfeasor are unreasonable or
          outrageous is for the court in the first instance,
          although where reasonable people may differ on
          that question it should be left to the jury.”
          Young v. Allstate Ins. Co., 119 Haw. 403, 429, 198
          P.3d 666, 692 (2008).

Martin v. Ampco Sys. Parking, Civil No. 12-00598 SOM/RLP, 2013 WL

5781311, at *15-16 (D. Hawai`i Oct. 24, 2013), reconsideration

granted, 2013 WL 6624124 (Dec. 16, 2013).25

          This district court has recognized that conduct meeting

the requisite outrageousness is not often found in cases arising

from foreclosure proceedings.   However, this district court has

concluded that some IIED claims based on foreclosure proceedings

were actionable:

               Foreclosure proceedings generally do not rise
          to the level of extreme and outrageous conduct to
          support an IIED claim. In Doran v. Wells Fargo
          Bank, No. 11–00132, 2011 WL 5239738, at *10–11 (D.
          Haw. Oct. 31, 2011), for example, a plaintiff
          alleged a claim for IIED based, in part, on
          defendant cancelling his loan modification and


     24
       Dunlea was abrogated on other grounds by Hac v.
University of Hawai`i, 102 Hawai`i 92, 73 P.3d 46 (2003).
     25
       The Motion for Reconsideration is not relevant here. See
Martin, 2013 WL 6624124 at *1 (stating that the Motion for
Reconsideration relates to an allegedly illegal revocation of a
work permit).

                                53
          foreclosing upon his property. The defendant had
          represented that plaintiff was pre-qualified for
          the loan modification. The court dismissed the
          IIED claim, as such conduct was not outrageous.
          Doran, 2011 WL 5239738, at *11; see also Almaden
          v. Peninsula Mortgage, Inc., No. 12–00390, 2012 WL
          6738512, at *10 (D. Haw. Dec. 31, 2012)
          (dismissing IIED claim alleging that defendant
          lied about a loan modification and subsequently
          foreclosed); Uy v. Wells Fargo Bank, N.A., No.
          10–00204, 2011 WL 1235590, at *14 (D. Haw.
          Mar. 28, 2011)); but see Bass v. Ameriquest Mortg.
          Co., No. 09–00476, 2010 WL 3025167, at *10–11 (D.
          Haw. Aug. 3, 2010) (denying summary judgment as to
          an IIED claim where the plaintiff asserted that
          the defendant “forged her signature on the 2006
          loans, refused to honor [her] right of
          cancellation of the loans when she discovered the
          forgeries, and commenced foreclosure proceedings
          against [her] when she failed to make her loan
          payments”).

               Plaintiff here alleges that he has suffered
          and continues to suffer emotional distress “[a]s a
          direct, proximate and foreseeable result of the
          AOAO’s . . . and Associa’s negligent or
          intentional acts, which are outrageous.” (Am.
          Compl. at ¶ 128.) Such generalized and conclusory
          allegations fail to satisfy the requirements of
          Federal Rule of Civil Procedure 8.

                Plaintiff fails to allege the existence of
          special circumstances that would support a claim
          of outrageous conduct by Defendants AOAO and
          Associa relating to the foreclosure of Plaintiff’s
          Unit.

Baham v. Ass’n of Apartment Owners of Opua Hale Patio Homes, Civ.

No. 13–00669 HG–BMK, 2014 WL 2761744, at *21–22 (D. Hawai`i

June 18, 2014) (alterations in Baham) (emphases added).    Thus, a

plaintiff can allege an IIED claim against a foreclosing

condominium association if he alleges special circumstances, such


                               54
as forgery.

          In the instant case, Plaintiffs allege that, inter

alia: the AOAO had a $6,882.86 lien on their Unit; the AOAO

foreclosed on their Unit, intentionally using an expedited

foreclosure process that it was not legally entitled to use; at

the time of the AOAO’s foreclosure, it was aware that Plaintiffs

were in the process of selling the Unit; Plaintiffs had requested

a reasonable payment plan, under which they would pay all amounts

owed to the AOAO; Plaintiffs entered into a contract for the

Short Sale of the Unit; based on the pending Short Sale,

Plaintiffs reached a settlement with the holder of their first

mortgage – the original amount of which was $249,600 – and they

paid off their second mortgage – the original amount of which was

$62,400; the Short Sale ultimately did not close because of the

AOAO’s foreclosure sale; and the AOAO purchased the Unit at the

foreclosure sale.   [Second Amended Complaint at ¶¶ 10-26.]    This

Court concludes that, at a minimum, reasonable minds could differ

on the issue of whether these alleged circumstances present the

type of special circumstances required to support an IIED claim

arising from a foreclosure.   Thus, the issue of whether the

AOAO’s conduct was outrageous should be left to the jury.     See

Young, 119 Hawai`i at 429, 198 P.3d at 692.

          This Court therefore CONCLUDES that Plaintiffs have

sufficiently pleaded their IIED claim against the AOAO.    The AOAO


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Motion is DENIED as to its request for dismissal of Plaintiffs’

IIED claim against the AOAO in Count V.

                              CONCLUSION

          On the basis of the foregoing, the AOAO’s Amended

Motion to Dismiss Second Amended Complaint [Dkt 34], filed

August 24, 2016, is HEREBY DENIED in its entirety, and Chow’s

Motion to Dismiss [Dkt. 34] Second Amended Complaint, filed

October 31, 2016, is HEREBY GRANTED IN PART AND DENIED IN PART.

Specifically, the Chow Motion is GRANTED insofar as the Court

DISMISSES Plaintiffs’ claims against Chow in Counts I, III, IV,

and V WITH PREJUDICE.   This Court DENIES the Chow Motion as to

Plaintiffs’ claim against Chow in Count II.

          This Court ORDERS Defendants to file their answers to

the Second Amended Complaint by April 20, 2017.    This Court

emphasizes that the deadline applies even if a motion for

reconsideration of this Order is filed.    Any motion for

reconsideration of this Order must be filed by April 17, 2017.

          IT IS SO ORDERED.




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          DATED AT HONOLULU, HAWAII, March 30, 2017.



                               /s/ Leslie E. Kobayashi
                              Leslie E. Kobayashi
                              United States District Judge




RUDY AKONI GALIMA, ET AL. VS. ASSOCIATION OF APARTMENT OWNERS OF
PALM COURT, ET AL; CIVIL 16-00023 LEK-KSC; ORDER DENYING
DEFENDANT ASSOCIATION OF APARTMENT OWNERS OF PALM COURT’S AMENDED
MOTION TO DISMISS SECOND AMENDED COMPLAINT [DKT 34]; AND GRANTING
IN PART AND DENYING IN PART DEFENDANT BRYSON CHOW’S MOTION TO
DISMISS [DKT. 34] SECOND AMENDED COMPLAINT




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